        Case 1:91-cr-10176-RWZ Document 249 Filed 01/07/09 Page 1 of 4




                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


                            CRIMINAL NO. 91-10176-RWZ

                            UNITED STATES OF AMERICA

                                            v.

                                 LEANDRO QUINONES



                                       ORDER
                                    January 7, 2009

ZOBEL, D.J.

      Defendant has moved for a reduction of his 360-month sentence pursuant to 18

U.S.C. § 3582(c)(2) based on the recent amendments to the crack cocaine sentencing

guidelines, U.S.S.G. § 2B1.10. The government does not object to the Guideline’s two-

level reduction to the base offense level which, at the low end of the Guideline, yields a

sentence of 292 months imprisonment. The parties are in disagreement about the

court’s discretion to further lower the sentence under United States v. Booker, 543 U.S.

220 (2005), and 18 U.S.C. § 3553(a).

      Defendant has served in excess of 17 years of his sentence, and in all that time

he has incurred only one minor disciplinary report. On the other hand, he has

participated in language classes and completed his GED. He has also taken a number

of skills and social adjustment classes. His motion is supported by letters from

members of his family and friends who offer him a job as well as emotional and

personal support. His counsel argues eloquently for a sentence of time served.
Case 1:91-cr-10176-RWZ Document 249 Filed 01/07/09 Page 2 of 4




                              2
        Case 1:91-cr-10176-RWZ Document 249 Filed 01/07/09 Page 3 of 4




      Defendant’s 360-month sentence was at the low end of the then-applicable

Guideline. I have reviewed the § 3553(a) factors and determine that a reduction to the

low end of the amended Guideline, 292 months, is warranted. However, I do not have

the power to reduce defendant’s sentence further.

      The difficulty lies in the language of 18 U.S.C. § 3582(c)(2) and Guideline

amendments that reduced the disparity between crack and powder cocaine and

provided for retroactive application of that reduction. See U.S.S.G. § 1B1.10. With the

exception of the Ninth Circuit, see United States v. Hicks, 472 F.3d 1167 (9th Cir.

2007), the appellate courts that have addressed the issue have held that district courts

have no jurisdiction to reduce sentences pursuant to § 3582(c)(2) below the range the

Sentencing Commission has authorized. See, e.g., United States v. Dunphy, No. 08-

6919, 2009 WL 19139 (4th Cir. Jan. 5, 2009); United States v. Rhodes, No. 08-2111,

2008 WL 5102247 (10th Cir. Dec. 5, 2008). I am persuaded by the reasoning in

Dunphy and Rhodes. Cf. United States v. Caraballo, No. 08-1555, 2008 WL 5274853,

at *4, *5 n.4 (1st Cir. Dec. 22, 2008) (rejecting notion that Sentencing Commission policy

statements are merely advisory in post-Booker world but declining to determine

whether a defendant whose sentence is reduced pursuant to § 3582(c)(2) is entitled to

a full re-sentencing). I therefore deny defendant’s request for a sentence of less than

292 months.




                                            3
       Case 1:91-cr-10176-RWZ Document 249 Filed 01/07/09 Page 4 of 4




      The motion to reduce defendant’s sentence is allowed, and it is ordered that he

be and hereby is sentenced to a term of imprisonment of 292 months, and a period of

supervised release of 10 years with the same conditions previously imposed. No fine is

imposed, and the special assessment has presumably been paid.




       January 7, 2009                                /s/Rya W. Zobel
         DATE                                          RYA W. ZOBEL
                                              UNITED STATES DISTRICT JUDGE




                                          4
